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                        The Office of Ulysses T. Ware
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                                       Monday, March 24, 2025

VIA U.S. MAIL AND ELECTRONIC FILING
Office of the District Clerk
United States District Court
Northern District of Georgia
Richard B. Russell U.S. Courthouse
75 Ted Turner Drive, SW
Atlanta, GA 30303

Re: In re Group Management Corp. (Debtor), Ch. 11, Case No. 03-93031 (Bankr. N.D. Ga.)
    On appeal in: Ware, et al. v. Alpha Capital, AG, et al., Case No. 1:25-cv-00613 (N.D. Ga.)

Dear Clerk:

Please find enclosed for filing and docketing in the above-referenced matter the following
submission, prepared on behalf of the Appellants, Group Management (a sole proprietorship) and
Ulysses T. Ware:

    •   (17-13) (Part 17-13), dated March 24, 2025: "Appellants' Motion for a Protective
        Order and Injunction and Proposed Order, and Memorandum of Law in Support."

Pursuant to the applicable Federal Rules of Bankruptcy Procedure and Local Rules of this
Honorable Court, Appellants respectfully submit this Motion to seek judicial relief ensuring the
protection of the integrity of these appellate proceedings and preventing any further vexatious or
duplicative litigation by the Appellees. This enclosed filing is intended for immediate processing,
docketing, and consideration, consistent with the procedures governing this appeal.

If there are any questions regarding this submission, or if further documentation is required, please
do not hesitate to contact me at the phone number or email provided above. Thank you for your
assistance and courtesies in this matter.

Respectfully submitted,

Isl Ulysses T. Ware, attorney in fact for the Appellants
Group Management (a sole proprietorship) and Ulysses T. Ware




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Enclosure:
(17-13) (Part 17-13) - Appellants ' Motion for a Protective Order and Injunction, Proposed Order,
and Memorandum of Law in Support.

cc:

      •   Chambers of the Hon. Michael L. Brown
      •   Executive Director, Administrative Office of the U.S . Courts
      •   Office of the U.S. Trustee, Region 21
      •   All Known Counsel and Parties in Interest




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